Case 1:21-cr-00229-RBJ Document 133 Filed 01/31/22 USDC Colorado Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                      Plaintiff,
v.
           1. DAVITA INC.,
           2. KENT THIRY,

                      Defendants.

_____________________________________________________________________________

   JOINT MOTION AND (PROPOSED) ORDER REGARDING CASE SCHEDULE
_____________________________________________________________________________

       WHEREAS, on August 19, 2021, this Court so ordered a case schedule (the “Case

Schedule”);

       WHEREAS, the Case Schedule did not provide a specific timeline or process for the

parties to exchange proposed jury instructions;

       WHEREAS, this Court’s relevant practice standards ask parties to “email your single set

of joint proposed jury instructions in Word format to Chambers one week before the Trial

Preparation Conference”; “pair disputed instructions on each subject, indicating which is

plaintiff’s and which is defendant’s proposed version, so that I can more easily compare your

respective positions on the instruction”; and provide “supporting authorities … for disputed

instructions”;

       WHEREAS, February 21, 2022 is a federal holiday;

       The parties, by and through their undersigned counsel, hereby jointly request that this

Court so order the following process and deadlines regarding jury instructions in this matter:


                                                  1
Case 1:21-cr-00229-RBJ Document 133 Filed 01/31/22 USDC Colorado Page 2 of 4




                       Event                                             Date

 Parties shall exchange proposed jury                                 2/07/2022
 instructions.

 Parties shall meet and confer in good faith to                2/08/2022-02/21/2022
 stipulate to as many proposed jury
 instructions as possible.

 Parties shall file a single set of the jury                         02/22/2022
 instructions with the court, identifying
 disputed instructions and those to which the
 parties stipulate.

 For disputed instructions, the parties shall file
 both versions of the proposed instruction (the
 Division’s version and defendants’ joint
 version) and supporting citations thereof.

 The parties may also file separate memoranda
 in support of their proposed, disputed jury
 instruction.

 Parties may file memoranda in response to                           03/01/2022
 opposing counsel’s arguments filed on
 02/22/2022.



        In addition, while the Case Schedule set a February 7, 2022 deadline to submit proposed

voir dire questions to this Court, see ECF No. 39, the parties do not believe it is necessary to do

so at this juncture. Accordingly, defendants also move to suspend the voir dire deadline—a

request the United States does not oppose. All parties reserve the right to raise voir dire issues at

a later stage in the litigation.

        Finally, the Case Schedule set a February 21, 2022 deadline to submit responses to

supplemental motions in limine. See ECF No. 39. Because February 21, 2022 is a federal

holiday, the parties jointly request that the Court move the deadline to submit responses to



                                                     2
Case 1:21-cr-00229-RBJ Document 133 Filed 01/31/22 USDC Colorado Page 3 of 4




supplemental motions in limine to February 22, 2022.



Dated: January 31, 2022                     Respectfully submitted,


SETH P. WAXMAN                              /s/ John F. Walsh III
WILMER CUTLER PICKERING HALE & DORR         JOHN F. WALSH III
LLP                                         WILMER CUTLER PICKERING HALE & DORR LLP
1875 Pennsylvania Avenue NW                 1225 17th Street, Suite 2600
Washington, DC 20006                        Denver, CO 80220
(202) 663-6000                              (720) 274-3154
seth.waxman@wilmerhale.com                  john.walsh@wilmerhale.com

JOHN C. DODDS                               J. CLAY EVERETT, JR.
MORGAN LEWIS & BOCKIUS LLP                  MORGAN LEWIS & BOCKIUS LLP
1701 Market Street                          1111 Pennsylvania Ave. NW
Philadelphia, PA 19103-2921                 Washington, DC 20004-2541
(215) 963-4942                              (202) 739-5860
john.dodds@morganlewis.com                  clay.everett@morganlewis.com

                            Counsel for Defendant DaVita Inc.
CLIFFORD B. STRICKLIN                       JEFFREY E. STONE
KING & SPALDING                             DANIEL CAMPBELL
1401 Lawrence Street, Suite 1900            McDermott Will & Emery LLP
Denver, CO 80202                            444 W Lake St.
(720) 535-2327                              Chicago, IL 60606
cstricklin@kslaw.com                        (312) 984-2064
                                            jstone@mwe.com
JUSTIN P. MURPHY                            dcampbell@mwe.com
MCDERMOTT WILL & EMERY LLP
500 North Capitol Street, NW
Washington, DC 20001-1531
(202) 756-8018
jmurphy@mwe.com
                             Counsel for Defendant Kent Thiry




                                             3
Case 1:21-cr-00229-RBJ Document 133 Filed 01/31/22 USDC Colorado Page 4 of 4




 MEGAN S. LEWIS
 WILLIAM J. VIGEN
 ANTHONY W. MARIANO
 SARA M. CLINGAN
  Trial Attorneys
 U.S. DEPARTMENT OF JUSTICE, ANTITRUST DIVISION
 Washington Criminal II Section
 450 Fifth Street, N.W.
 Washington, D.C. 20530
 Tel: 202-598-8145 / 202-353-2411 / 202-598-2737 / 202-480-1951
 FAX: 202-514-9082
 E-mail: megan.lewis@usdoj.gov
 E-mail: william.vigen@usdoj.gov
 E-mail: anthony.mariano@usdoj.gov
 E-mail: sara.clingan2@usdoj.gov

 Attorneys for United States


                                 CERTIFICATE OF SERVICE
       I certify that on January 31, 2022, I filed the above document with the Clerk of the Court
using CM/ECF, which will send electronic notification thereof to all registered counsel.

                                                      /s/ John F. Walsh III
                                                         John F. Walsh III




                   CERTIFICATE OF GOOD FAITH CONFERENCE
      I hereby certify that counsel for all parties have conferred regarding the relief sought in the
motion.

                                                      /s/ John F. Walsh III
                                                         John F. Walsh III




                                                 4
